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                        IN THE UNITED STATES DISTRICT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

KIMBERLY BARNES-STAPLES,                 )
                                         )
                    Plaintiff,           )
                                         )
                    v.                   )   Case No. 20 CV 3627
                                         )
EMILY W. MURPHY, Administrator,          )   Judge Virginia M. Kendall
General Services Administration          )
                                         )
                     Defendant.          )


                   PLAINTIFF’S RESPONSE IN OPPOSITION TO
                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT




Dated: November 24, 2021                           Respectfully submitted,

                                                   KIMBERLY BARNES-STAPLES

                                                   /s/ Ruth I. Major
                                                   One of Her Attorneys



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        Plaintiff Kimberly Barnes-Staples (“Staples”), through counsel, for her Response in

Opposition to Defendant’s Motion for Summary Judgment, states as follows:

                                        INTRODUCTION

        Although racism may have changed how it rears its ugly head throughout the years, it is

pervasive and present, and continues to deeply target people of color—including Ms. Kimberly

Barnes-Staples in her efforts to break through the GSA glass ceiling. Defendant attempts to hide

its discriminatory acts behind misstatements of the law, lies, inconsistencies, and by ignoring all

evidence relied upon by Plaintiff. Defendant also attempts to frame its entire argument on the

answers given during the promotion interviews but fails to acknowledge that because of its failure

to follow the Guidelines, the entire process was tainted. Unfortunately for Defendant, summary

judgment cannot be granted on Defendant’s filtered version of the case. Under federal law, a jury

may infer discriminatory animus from circumstantial evidence such as the Defendant failing to

follow its own guidelines for promotions and Defendant’s repeated lies concerning the decision-

making process. Moreover, where such circumstantial evidence exists, the jury may also consider

Plaintiff’s superior qualifications as compared to the candidate selected as further evidence of

discrimination. As more fully explained below, Staples has presented evidence to support her claim

using such evidence. In light of the evidence from which a jury can infer discrimination, it is clear

that Defendant’s motion for summary judgment should be denied.

                                              FACTS

I.      General Background

        Staples has an impressive academic background, including a Bachelor of Science from

Northwestern University and a Master of Business Administration (“MBA”) from the Stephen M.

Ross School of Business at the University of Michigan—currently ranked the number thirteen best



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graduate business school in the country according to U.S. News and World Report.

https://www.usnews.com/best-graduate-schools/top-business-schools/mba-rankings. (SOAF ¶ 1).

Staples also worked with the General Services Administration (“GSA”) for 29 years, and was

working in the Public Building Service, Great Lakes Region 5 (“Region 5”) as a GS-14 employee.

(SOAF ¶¶ 4, 7). Her GSA experience includes 10 years as a Lease Contracting Officer, 2 years as

Judiciary Regional Account Manager, 6 years as Judiciary Client Delivery Team Manager, and 10

years as Portfolio Information and Valuation Branch Manager. (SOAF ¶ 4). Staples also possesses

a GS-1170 unlimited Real Property Leasing Warrant (“1170 warrant”), the highest-level warrant,

earned through the completion of certain classes and based on experience directly handling leasing

matters. (SOAF ¶ 10). The holder of the warrant has authority to lease property on behalf of GSA

for any amount, as there is no limitation. (Id.). In contrast, a GS-1102 warrant (“1102 warrant”),

is a limited warrant with caps on the authority of the holder. (SOAF ¶ 11).

       There are currently 12 positions in Region 5 that are at level GS-15 or above. (SOAF ¶ 14).

Of the 12 individuals holding the positions, only one is Black, and none are Black women. (Id.).

Further, although John Cooke, a Black man, was hired as a Senior Executive Service (“SES”) for

Region 5 in 2015, Cooke has not promoted a single Black person since he obtained the position.

(Id.). Of the 11 promotions made to the GS-15 level or above in Region 5 since 2010, no Black

women, including Staples, has been promoted in any of these instances. (SOAF ¶ 12).

       Since 2010 Staples has applied for six positions at the GS-15 level in Region 5, yet has

been denied the promotion in each instance. (SOAF ¶ 12). Defendant continues to shift the rules

from position to position, with the rules never seeming to be in Staples’ favor. For example, in

July 2018, Staples applied for the GS-15 position of Facilities Management and Service Program

Director, where she was denied an interview purportedly because she lacked the necessary



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technical experience. (Id.). The selected candidate was not a Black woman. (Id.). However, in the

Real Estate position at issue, for which Staples had the technical experience, the panel members

decided necessary technical experience was unimportant, as Azevedo testified that out of the

candidates, Staples had the most experience handling physical leasing matters, which was one of

the requirements for the position, yet she was not chosen for the position. (SOAF ¶ 27). In another

example, the hiring panel members communicated to each other about how two candidates were

well qualified because of their experience. (Id.).

II.      The Real Estate Position

         In March 2019, Staples applied for the GS-15 position of Real Estate Director which

included responsibilities for supervising lease contracting officers and serving as a principal

advisor for lease administration matters (announcement number 1905024LBMP), where she was

deemed qualified by Human Resources and was permitted to interview for the position. (SOAF ¶

13). The interview process consisted of two levels: the first interview by a three-member panel

and, if deemed a top candidate, a second interview by a different three-member panel. (SOAF ¶

22). The sole purpose of the first panel is to determine who should move to the second-level

interviews. (SOAF ¶ 23). Thus, the ratings given to candidates in the first panel is merely a way

of providing evidence of the decision-making process and should not be considered by the second

panel. (Id.) Therefore, the first panel’s process is not addressed in this brief.

         The process to be followed by the second panel is set forth in the “Uniform Guideline on

Employee Selection Procedures (“Guideline”),” a 36-page document enacted in 1978 by

Defendant, created by experts in Human Resources to help managers identify “the best candidate

for a job while treating all candidates fairly and equally” in the hiring and promoting of

employees”. (SOAF ¶ 15). In other words, this is a guide created by Defendant to prevent



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discriminatory practices, such as those before the Court today. (Id.). This Guideline, and training

on the Guideline, is provided to all managers by Defendant. (SOAF ¶ 16).

       One requirement of the Guideline is that “the interview panel should meet to review the

job description and job analysis, develop the interview questions that will be used to assess job-

related competencies, and establish the criteria or rating scale for evaluating answers to the

questions.” (SOAF ¶ 17). This ensures that the interviews are “promoting the use of consistent

procedures, impartiality, and objectivity.” (Id.). However, both John Cooke and Allison Azevedo,

both members of the second panel, testified that they did not determine the criteria or rating scale

for evaluating answers to questions in advanced of the interviews. (SOAF ¶ 25). Another

requirement of the Guideline is to “be mindful that the questions [asked] do not assess a

competency that is expected to be learned on the job. (SOAF ¶ 19). For example, “do not ask

candidates how they would handle a situation that is covered by a specific internal policy or

procedures that will be introduced on the job. Be careful that the question doesn’t coach the

candidates.” (Id.). However, the interviewees were given questions that specifically tailored to the

Real Estate Division, during their interviews. (SOAF ¶ 33). Wittstock, a White female, was

selected for the promotion. (SOAF ¶ 28). One of the questions all candidates were asked related

to a specific responsibility that Wittstock handled and for which she had superior information.

(SOAF ¶ 33). Another component of the Guideline is that after the interview, the panel members

are to give a consensus rating and then the final ratings should “represent the consensus judgment

of the panel”. (SOAF ¶ 20). “If all agree, the ratings should be declared final.” (Id.). However,

while Cooke and Robert Green maintain that the panel unanimously decided on Wittstock,

Azevedo, who was on the second panel for the interview process, claimed that she never indicated

that Wittstock was her choice, and was not even informed of Wittstock being chosen for the



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position until the decision had already been made. (SOAF ¶ 28). Lastly, the Guideline requires the

interview be based on “the job analysis process to ensure competency-based selection procedures

result in merit-based hiring decisions.” (SOAF ¶ 21). However, despite education and requisite

leasing warrants being a competency of the position, the interview panel did not afford any

consideration to the disparate qualifications between Staples and Wittstock. (SOAF ¶ 27; ECF 70,

No. 25).

       Defendant also provided false information concerning the decision-making process. For

example, Defendant states that Green was the ultimate decisionmaker in its brief. (SOAF ¶ 29).

However, Azevedo and Cooke testified that Green and the Regional Commissioner were the final

decisionmakers. (Id.). Further, Cooke testified that Azevedo was on the panel because Cooke

received a memorandum from the Commissioner that he wanted the assistant commissioner’s

involvement in the selection of regional GS-15s and that the assistant commissioner must concur

with the decision. (SOAF ¶ 30). However, Azevedo testified that “she did not feel that that was

[her] decision to make” as assistant commissioner. (Id.). In another example, Defendant claimed

that Wittstock was chosen for this position because her responses expressed plans that were

superior to that of the other candidates, yet panel members admitted that Wittstock’s answers were

simply restating plans that had already been implemented by other employees at GSA. (SOAF ¶¶

32, 34, 36). In another claim, Defendant stated that Staples was not as qualified as Wittstock

because Staples was no longer working in the Real Estate Division. (ECF 69, p. 9, 11, 13).

However, Azevedo testified that GSA hires people into positions based on their experience outside

the GSA that is relevant to the position. (SOAF ¶ 27).

       Although she was not currently working in the Real Estate Division, Staples had 16 years

of previous experience in real estate. (SOAF ¶ 4). Further, Staples’ MBA provided her with



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extensive education on management principles and she had experience managing for both the GSA

and her prior employers. (SOAF ¶¶ 1, 4-8). However, the position was denied to Staples, and was

instead awarded to Sheryl Wittstock. (SOAF ¶ 28). Although she was currently working in the

Real Estate Division, Wittstock lacked the substantive experience that Staples had including

lacking a 1170 warrant, lacking any experience in drafting leases, lacking any degree related to

business management, or accounting as she studied art history at Northern Illinois University and

does not possess a graduate degree, and lacking the experience and technical knowledge of a lease

contracting officer—she simply had no knowledge of how to negotiate a lease or of real estate law.

(SOAF ¶¶ 2, 11; ECF 70, Response to No. 56).

                                           ARGUMENT
  I.      Standard of Review

          “All facts and inferences in the light most favorable to the nonmoving party.” Love v. JP

Cullen & Sons, Inc., 779 F.3d 697, 701 (7th Cir. 2015). An employer’s “post hoc explanations,

delay, exaggeration, and unusual conduct is more than enough to create a question of fact

concerning the legitimacy of its explanations” requiring the denial of summary judgment. Indiana

Univ.-Purdue Univ. Indianapolis Athletics Dep't, 510 F.3d 681, 693 (7th Cir. 2007).

 II.      Defendant’s Brief Reveals Its Fundamental Misunderstanding of the Applicable
          Law

        Defendant misunderstands the current law of the Seventh Circuit. The Millbrook standard

that Defendant relies on applies narrowly to only those circumstances where the plaintiff relies

exclusively on evidence of applicants’ qualifications. Millbrook v. IBP, Inc., 280 F.3d 1169, 1180

(7th Cir. 2002), see also Joll v. Valparaiso Comm. Sch., 953 F.3d 923, 934 (7th Cir. 2020) (“we

have tried to make clear that the Millbrook rule applies only where the ‘the plaintiff relies

exclusively on evidence of the applicants’ comparative qualifications’.”). The qualifications of



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candidates are relevant when a plaintiff relies on other circumstantial evidence to support the

claim, such as shifting explanations for the failure to promote and false explanations for the

decision (i.e., pretext) as here. David v. Caterpillar Inc., 324 F.3d 851, 862 (7th Cir. 2003)

(“Nothing in Millbrook forecloses a comparison of qualifications in a case, such as this, where the

employer offers conflicting explanations for its employment decision.”). Here, Staples does not

solely provide evidence that she is more qualified that Wittstock; she also provides evidence

showing Defendant’s lies, inconsistencies, and selective procedures that further supports

Defendant’s reasoning being discriminatory. Thus, the Millbrook standard would be inapplicable

in this case.

III.      Staples Has an Abundance of Circumstantial Evidence Establishing the Process was
          Discriminatory in Violation of Title VII in Addition to the Qualifications of the
          Candidates

          A.    Defendant’s Failure to Follow Its Guideline

          Where the hiring process “departed” from the process contemplated by the employer’s

guidelines, the Seventh Circuit held such conduct can constitute “evidence of pretext.” Rudin v.

Lincoln Land Comm. College, 420 F.3d 712, 727 (7th Cir. 2005); also see Joll, 953 F.3d at 931;

Coleman v. Donahoe, 667 F.3d 835, 858 (7th Cir. 2012). The Court in Rudin found that because

the defendant did not follow its own internal procedures with respect to the hiring process, this

pointed to a discriminatory motivation and was an issue for the jury. Id. Similarly, Defendant failed

to follow its own promotion guideline here, and its failure to do so serves as circumstantial

evidence of discrimination. As the second panel admitted to not considering the first panel’s

results, this brief will focus solely on the actions of the second panel. (SOAF ¶ 23). (Purpose of

the first panel is to determine who should move on to the second panel and the rankings made are

solely to provide evidence of the decision-making process).



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        The Guideline was created by Defendant to prevent discriminatory practices. However, all

three members of the second panel admitted to not adhering to the Guideline and had no

explanation for failing to do so, which is evidently why there have been no Black women promoted

to a GS-15 level since 2010 and there is only one of twelve positions that is held by a Black man

at the GS-15 level or above. (SOAF ¶ 14). John Cooke, the highest ranking official for the Public

Building Service (“PBS”) side of GSA, claimed diversity was important to him and that he

supposedly made a constant effort to make sure that there was diversity in the workplace. (ECF

70, Response to 49). Similarly, Azevedo stated that this process is followed because it is very

successful. (SOAF ¶ 15). However, actions speak louder than words as the panel members

repeatedly failed to follow the hiring Guideline that was specifically created to avoid the very issue

that arises here.

        More specifically, the Guideline identifies procedures that should be followed in the

interview process to prevent discrimination such as: (1) no questions specifically tailored to

specific work that the employee could learn on the job; (2) candidates should be treated fairly and

equitably, including being evaluated by experience and against the same pre-determined criteria;

(3) a rating scale to score interviewees’ answers should be developed prior to the interview; and

(4) there should be a unanimous consensus judgment of the panel as to the selectee. Defendants

failed to follow each and every one of these procedures, despite claiming the importance of

diversity. First, the Guideline emphasizes the importance of not asking specifically tailored

questions to candidates, which could give one candidate an advantage over another. (SOAF ¶ 19).

More specifically, the Guideline states that questions that assess a competency that is expected to

be learned on the job should not be asked, such as asking how a candidate would handle a situation

that is covered by a specific internal policy or procedure. (Id.). The Guideline also cautions against



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asking questions that coach the candidate. (Id.). The telling twist in this case is the fact that

Defendant asked interview questions focused on a specific issue in the division—something

clearly prohibited by the Guideline. This question made Wittstock’s selection over Staples a

foregone conclusion, as Wittstock had the advantage of currently working in the Real Estate

Division on the specific issue, while Staples did not, as admitted by Cooke and Azevedo. (SOAF

¶¶ 32, 33).

       Second, to prevent discrimination, the Guideline states that candidates must be treated

fairly and equitably, and that the interview process must ensure competency-based selection

procedures resulting in merit-based hiring decisions. Further, the Guideline states that questions

should be designed to elicit information on candidates’ experience and level of proficiency,

indicating the importance of such factors. (SOAF ¶ 18). Thus, although evidence of higher

education is not the sole criteria for consideration, Defendant’s argument that education is not and

should not be considered when filling GS-15 employees is belied by the undisputed evidence. The

importance of an MBA is evident by Defendant’s practice, as Cooke, Kelly Juarez, and Robert

Green, all decisionmakers who have attained the GS-15 and above level, all have MBAs. (SOAF

¶ 3). Moreover, Defendant even paid for Juarez’s MBA and recruited Green from his school’s

MBA program. (Id.). PBS also consistently requires post-graduate education when hiring

employees into lower-level positions.1 Thus, Defendant’s claim that education should not be

considered at all for this high-level position is pretext for the GSA’s discrimination. Joll, 953 F.3d

at 932, see also Rudin, 420 F.3d at 723. A jury could conclude that the higher a person goes in an




1
 See https://www.gsa.gov/node/86806/; https:// www.usajobs.gov/GetJob/ViewDetails/619382500.
for GSA job postings, all of which require post-graduate education for higher level.



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organization the more education required and the absence of such a requirement here was to ensure

Wittstock was selected.

       Furthermore, the Guideline requires that the experience of the candidates be taken into

consideration, yet the panel members disregarded Staples’ experience and proficiency and based

a majority of the selection solely on the answers given to each question. (SOAF ¶ 28). (“Wittstock

had best answered and we felt that would be best suited to lead the division going forward”). The

job description also addressed the work experience and knowledge of the candidates as a

requirement. (SOAF ¶ 27). As to other positions, Defendant put great emphasis on the experience

and job performance, as Azevedo explained in an email in October of 2018 as it concerned two

White employees selected for a GS-15 position “based on their past performance, the significance

of the work that they currently manage, and their ability to achieve outstanding results for the

agency.” (Id.). The same factors were ignored when it concerned the position here where such

factors would have weighed in favor of Staples. Only the interview mattered. (SOAF ¶ 23).

       Third, the Guideline emphasizes the importance of developing a rating scale to score each

candidate’s response prior to conducting the interviews. (SOAF ¶ 17). This ensures the responses

are not scored subjectively. (Id.). The Guideline even provides examples of different types of rating

scales. (Id.). However, the second panel did not discuss specific answers the panel was looking for

as the best to worst answers to the questions and they did not set up a scoring system to be applied

to the answers. (SOAF ¶¶ 25, 26). Cooke was unable to provide reasoning as to why the second

panel members did not follow the Guideline to prevent discrimination, despite claiming how

important this was to him. (Id.).

       Fourth, the Guideline state that the panel’s selection must be based on a unanimous

consensus. However, Azevedo stated under oath that “the panel did not specifically recommend



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the top candidate to be selected, claimed she never provided input into who she thought was the

most qualified for the position and claimed she never stated she agreed with Wittstock being the

chosen candidate. (SOAF ¶ 28). In fact, she claims she was not even aware that Wittstock had been

chosen until the decision was communicated to her at a later point and that this was not a

unanimous decision. (Id.). Thus, according to Azevedo, the Guideline was violated as a unanimous

consensus was not achieved.

       Although Defendant may attempt to argue that its failure to follow the Guideline was not

discriminatory because it was not a policy, the Seventh Circuit’s holdings do not find this to be

true. See, e.g., Rudin, 420 F.3d at 723-725 finding that Defendant’s failure to follow its hiring

guidelines provided sufficient circumstantial evidence of Defendant’s discrimination and should

be a question for the jury.

       B.      Defendant’s Lies, Shifting Justifications, and Inconsistencies

       When there are shifting justifications, inconsistencies, and conflicting assertions, the Court

has found that there is evidence of discrimination and that the issue be submitted to a trier of fact.

Rudin, 420 F.3d at 723-24. While true that the Seventh Circuit will not step in as a

“superpersonnel” department, Defendant again leaves out subsequent law, which acknowledges

that when there are “inconsistent explanations, especially from the same decisionmakers about

similar decisions near the same time,” this can serve as support for an inference of unlawful intent.

Joll, 953 F.3d at 933. Thus, Defendant’s seemingly endless list of lies about the hiring process

serves as evidence from which a jury can infer discrimination.

       Azevedo lied about recommending Wittstock for the promotion, at least according to the

other two panel members Green and Cooke. In Cooke’s deposition, Cooke testified that he,

Azevedo and Green all came to a unanimous consensus that Wittstock was best suited for the



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position and submitted this decision to Michael Gelber. (SOAF ¶ 28). Green and Cooke also

provided this same testimony in their affidavits submitted to the GSA EEO as part of an

investigation. (Id.). Yet Azevedo was adamant she did not select a candidate because that was not

her decision to make. (Id.). But, as aforementioned, the entire reason Azevedo was on the second

panel was because her involvement and concurrence with the selectee was deemed mandatory by

the Commissioner. (SOAF ¶ 30). The record shows that Azevedo and Wittstock, both White

women, had an extensive working relationship as Azevedo was Wittstock’s supervisor throughout

her various positions with Defendant and has been giving Wittstock performance ratings for over

six years. (SOAF ¶ 37). While Azevedo does her best to distance herself from the decision to

promote Wittstock over Staples, the other two panel members of the panel, Cooke and Green, both

repeatedly stated under oath that Azevedo had in fact made this recommendation. (SOAF ¶ 28).

      The list of lies Defendant makes continues when it states that Green was the ultimate

decisionmaker. (SOAF ¶ 29). This is inconsistent with the record. Azevedo and Cooke testified

that Robert Green and the regional commissioner, Michael Gelber, were the final decisionmakers.

(Id.). However, Azevedo later testified that Gelber had the approval authority for this position,

which Cooke also confirmed in his deposition. (Id.) (testifying that Mr. Gelber had to approve the

decision the panel made).

      Defendant also lied about the importance of education at the GSA, as discussed in Section

III(a).

      Another example of Defendant’s lies is Defendant’s argument that Staples was not as

qualified as Wittstock because Staples was not currently employed in the Real Estate Division.

Azevedo testified in her deposition that GSA hires people into positions based on their experience

outside the GSA that is relevant to the position. (SOAF ¶ 27). There is ample evidence that shows



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Staples’ experience is relevant to the Real Estate Director position including her education and her

leasing warrant. Defendant seems to focus on work experience and technical knowledge depending

on how that advances the candidate they are seeking to promote. In a prior promotion Staples

applied she was told she was not qualified for the position because she lacked the necessary

technical experience. (SOAF ¶ 12). However, when she applied for the position that is the subject

of this lawsuit, where she had extensive experience and the highest-level leasing warrant,

Defendant did not consider these factors or being a subject matter expert in awarding this position,

evident by Staples not receiving this position despite her impressive qualifications. At around the

same time, Defendant again shifted its position, when it sent an email referencing the importance

of subject matter expertise in connection with two other GS-15 positions. (SOAF ¶ 27).

     Defendant also heavily relies on evidence that Wittstock was hired because she had higher

answer ratings than Staples. However, the sole reason Wittstock received higher answer ratings

was because the entire interview process was tainted by Defendant’s discriminatory practice and

not following the Guideline, such as by asking her questions specifically tailored to her then current

job responsibilities and not setting the ratings to the anticipated answers in advance of the

interviews, as required under the Guideline, to eliminate subjectivity and favoritism. In Cooke’s

deposition, he admits that Wittstock’s answers were not even answers or ideas that she had come

up with on her own, as she was simply regurgitating an idea that the commissioner had already

discussed with GSA. (SOAF ¶ 34). Similarly, Azevedo admitted that Wittstock’s answers were

about systems that Dan Mathews had already implemented in 2019 and that she did not even

answer the question asked. (SOAF ¶ 32) (“I don’t see anything specifically that she says where

she points that out”).




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        C.      The Disparity in the Qualifications Between Staples and Wittstock is Also
                Evidence the Process was Discriminatory in Violation of Title VII

        As the Millbrook standard is not applicable in this case, as explained in Section II, the

qualification evidence that Staples was more qualified than Wittstock is admissible to further prove

that Defendant’s hiring process was discriminatory. Although an employer can make employment

decisions based on subjective criteria, the use of such criteria can “cast a shadow on the

employment decision” when presented in conjunction with other substantial evidence of pretext

and thereby allow the jury to reasonably consider subjective reasons as pretext. Giacoletto v. Amax

Zinc. Co., Inc., 954 F.2d 424, 427 (7th Cir. 1992); also see Christie v. Foremost Ins. Co., 785 F.2d

584 (7th Cir. 1986) (finding pretext when employer relied on subjective judgment about the

employee when the employee was objectively superior). “Beauty is in the eye of the beholder and

the beholder in this case is the employer, but the question left for the judge or jury will not require

second guessing of the personnel decisions, but rather, will require an evaluation of the credibility

of the defendant’s testimony about the reasons for that decision. In short, the trier-of-fact will

evaluate truthfulness, not beauty.” Medina v. Ramsey Steel Co., Inc., 238 F.3d 674, 681-82 (5th

Cir. 2001). In this case, Defendant has no credibility left to rely on, as seen in the previous sections.

Defendant is unable to provide answers as to why it repeatedly failed to follow the Guideline,

which were designed to prevent this very situation. Further, the only consistency Defendant can

present is its lies. At the end of the day, Defendant’s decision for hiring Wittstock was solely based

on subjective evidence, while ignoring all objective evidence. Staples, has an MBA from one of

the top business schools in the country, while Wittstock has a Bachelor of Arts in a completely

unrelated field with no background in business, management, or accounting. Despite this disparate

difference in education, this was not even a factor that was considered in this hiring process, as

discussed in Section III(a). Although Wittstock may have had experience in managing lease


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contracting officers, Staples had actual leasing experience, which was a requirement for this

position. (ECF 70, Response to No. 4). Thus, it is clear that “the subjective judgment was simply

a mask for age discrimination.” Giacoletto, 954 F.2d at 427.

    D.      The Circumstantial Evidence Requires this Case to be Tried by a Jury

         In Joll, the Court found that when decision-makers discounted reliable evidence presented

to them in favor of a single piece of isolated bad evidence, this could also lead a jury to find

evidence of pretext. 953 F.3d at 931. In other words, the court found that when decision-makers

cherry pick evidence they want to consider in favor of an individual, this can be used as evidence

that the reason given by Defendant was merely pretext. In this case, it is very apparent that

Defendant chose to cherry pick evidence that was favorable to Wittstock, while discounting any

and all good evidence that supported Staples.

         Further, when there is shifting criteria that favor the applicants outside the protected class,

“a jury can infer that the different stated reasons were not honest and were pretexts for [sex]

discrimination” and “certainly support a jury’s inference that the real reasons for the decisions

were based” on the discrimination. Joll, 953 F.3d at 932. When the jury’s disbelief is

“accompanied by a suspicion of mendacity”, the jury can infer that the employer is trying to cover

up a discriminatory action. Id. quoting Gehring v. Case Corp., 43 F.3d 340, 343 (7th Cir. 1994)

and St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 511 (1993). As the evidence here is rampant

with inconsistencies, lies, and fishiness, Defendant’s motion should be denied and this case

submitted to a jury.

                                           CONCLUSION

      For the foregoing reasons, this Court should deny Defendant’s motion for summary judgment

in the Plaintiff’s favor.



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